                 Case 23-10253-KBO              Doc 173        Filed 05/15/23         Page 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          )   Chapter 7
                                                                )
AKORN HOLDING COMPANY LLC, et al,.                              )   Case No. 23-10253 (KBO)
                                                                )
                  Debtors.1                                     )   (Jointly Administered)
                                                                )
                                                                )   Related Doc. Nos. 106, 137, 145, and 146
                                                                )

    OBJECTION OF CREDITOR M. JACOB & SONS, D/B/A MJS PACKAGING, TO
                  DEBTORS’ PROPOSED CURE AMOUNT

         Creditor M. Jacob & Sons, d/b/a MJS Packaging (“MJS”), by its undersigned attorneys,

hereby submits this Objection (the “Objection”) to the Notice of Executory Contracts and

Unexpired Leases that May Be Assumed and Assigned, Pursuant to Section 365 of the Bankruptcy

Code, in Connection with the Sale of Substantially All of the Debtors’ Assets, and the Proposed

Cure Amount (the “Cure Notice”) [D.I. No. 146]. In support of this Objection, MJS states the

following:

         1.       MJS is in the business of supplying packaging materials.

         2.       In December 2022, Akorn Operating Company, LLC (“Akorn”) entered into a Non-

Exclusive Packaging Component Supply Agreement (the “Agreement”) with MJS. A copy of the

Agreement is attached hereto as Exhibit A.

         3.       Pursuant to the Agreement, MJS, as “Supplier,” agreed to continue to supply

specified packaging materials (the “Packaging Components”) to Akorn and its Affiliates, as listed

on Exhibit A to the Agreement.



1
 The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.

                                                          1
              Case 23-10253-KBO           Doc 173      Filed 05/15/23     Page 2 of 4




       4.      Paragraph 2.1 of the Agreement provides, in pertinent part, that MJS shall cause

the manufacturers of the Packaging Components to manufacture the Packaging Components, and

MJS will supply the Packaging Components to Akorn.

       5.      Pursuant to Section 9.1 of the Agreement, the term of the Agreement is for three

(3) years from the Effective Date, unless earlier terminated pursuant to Section 9.2 of the

Agreement.

       6.      Akorn placed Purchase Orders for Packaging Components with MJS which MJS

accepted. MJS, in turn, caused Packaging Components to be manufactured for Akorn, as requested

in Akorn’s Purchase Orders.

       7.      On February 22, 2023, (the “Petition Date”) Akorn, together with related entities

Akorn Holding Company, LLC and Akorn Intermediate Company, LLC, filed voluntary petitions

for relief under Chapter 7 of the Bankruptcy Code. George L. Miller has been appointed as Trustee

(the “Trustee”) of the Debtors’ Chapter 7 bankruptcy estates.

       8.      On April 28, 2023, the Court entered an Order Granting Trustee’s Motion for Entry

of an Order (A) Approving Bidding Procedures In Connection with Sale of Substantially All of the

Estates’ Assets, (B) Scheduling an Auction and Hearing To Consider the Proposed Sale

(C) Approving the Form and Manner of Notice Thereof, and (D) Granting Certain Related Relief

[D.I. 137] which, among other things, establishes bidding procedures which govern the manner in

which all or substantially all of the assets of the Debtors are to be sold.

       9.      On May 1, 2023, the Trustee filed the Cure Notice.

       10.     Attached as Exhibit 1 to the Cure Notice is a list of the executory contracts and

unexpired leases that may be assumed and assigned to a potential purchaser in connection with the




                                                  2
              Case 23-10253-KBO         Doc 173     Filed 05/15/23      Page 3 of 4




Trustee’s sale of the Debtors’ assets, and the proposed cure amounts to cure any and all defaults

associated with each of the executory contracts and unexpired leases.

       11.     Exhibit 1 to the Cure Notice lists a proposed cure amount for the Agreement of

$520,251.75. See Page 11 of 21 of Exhibit 1 to the Cure Notice.

       12.     MJS objects to the proposed cure amount for MJS, because the amount owed to

MJS is $824,099.26.2

       13.     Attached hereto as Exhibit B is a printout reflecting the Packaging Components

ordered by Akorn from MJS, including Purchase Order Numbers, amounts owed, and, if

applicable, the shipping dates and invoice numbers for such purchases.

       14.     Pursuant to Section 365(b)(1)(A) of the Bankruptcy Code, the Trustee may not

assume the Agreement unless the Trustee cures Akorn’s default under the Agreement (or provides

adequate assurance that he will promptly cure such default), i.e., Akorn’s failure to pay MJS the

$824,099.26 owed for ordered Packaging Components.

       WHEREFORE, MJS respectfully requests the Court deny the Trustee’s request to establish

the cure amount for the MJS Agreement as $520,251.75, and to instead establish the cure amount

as $824,099.26.




2
  As set forth on the printout attached hereto as Exhibit B, $303,223.51 of the $824,099.26 is for
Packaging Components produced pursuant to Purchase Orders but not yet delivered to Akorn
(because Akorn did not want them delivered). Such Packaging Components are still located at
MJS’s vendor(s) and can be delivered to Akorn or the successful purchaser. As of the Petition
Date, even though the $303,223.57 in Packaging Components had been completed, MJS had not
sent invoices to Akorn for such Packaging Components because MJS had not delivered them to
Akorn.
                                                3
            Case 23-10253-KBO   Doc 173   Filed 05/15/23   Page 4 of 4




Dated: May 14, 2023                  /s/ Margaret A. Vesper
Wilmington, Delaware                 Matthew G. Summers (DE No. 5533)
                                     Margaret A. Vesper (DE No. 6995)
                                     BALLARD SPAHR LLP
                                     919 N. Market Street, 11th Floor
                                     Wilmington, Delaware 19801-3034
                                     Telephone: (302) 252-4465
                                     Facsimile: (302) 252-4466
                                     E-mail: summersm@ballardspahr.com
                                             vesperm@ballardspahr.com

                                     -and-

                                     Howard S. Sher, Esquire
                                     Debra Beth Pevos, Esquire
                                     JACOB & WEINGARTEN, P.C.
                                     25800 Northwestern Hwy., Suite 500
                                     Southfield, Michigan 48075
                                     Telephone: (248)649-1900
                                     E-mail: howard@jacobweingarten.com
                                             debra@jacobweingarten.com

                                     Counsel for M. Jacob & Sons, d/b/a MJS Packaging




                                      4
